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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA


Alliance for Retired Americans, et
al.,
          Plaintiffs,

            v.                             Civil Action No. 25-313

Scott Bessent, et al.,

           Defendants.


                   DECLARATION OF RICHARD J. FIESTA

      I, Richard J. Fiesta, declare the following under penalties of perjury:

      1.     I am over 18 years of age and competent to give this declaration. This

declaration is based on my personal knowledge, information, and belief.

      2.     I am the Executive Director at the Alliance for Retired Americans (the

Alliance), a grassroots advocacy organization with 4.4 million members. Founded by

the AFL-CIO in 2001, the Alliance now has 39 state alliances and members in every

state. The Alliance’s retiree activists are from all walks of life. They are former

teachers, industrial workers, state and federal government workers, construction

workers, and community leaders united in the belief that every American deserves a

secure and dignified retirement after a lifetime of hard work.

      3.     The Alliance advocates on behalf of its members at the federal, state,

and local levels on issues such as retirement security, health care, housing,

transportation, and consumer protection.
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      4.     The Alliance has members who receive monthly Social Security

retirement payments from the U.S. Department of the Treasury (Treasury) and who

receive other forms of retirement and health-related benefits, such as Railroad

Retirement Benefits, pension income for federal government service, disability and

workers compensation benefits under the Federal Employees’ Compensation

Program, federal black lung benefits, and veterans’ benefits.

      5.     The Alliance also has members who pay federal income taxes or receive

refunds and who have done so and will do so again in the current tax season.

      6.     It is my understanding that Treasury collects and maintains sensitive

personal and financial data from the Alliance’s members to process Social Security

and other benefits payments and to process income tax payments and refunds. This

data includes information such as name, Social Security number, birth date, birth

place, home address, telephone number, email address, and bank account details.

      7.     It is my understanding that Treasury has given access to this data—

including data that it has collected from the Alliance’s members—to Elon Musk

and/or other members of the so-called “Department of Government Efficiency”

(DOGE).

      8.     Such access violates the privacy of Alliance members, none of whom

consented to have their personal and financial data shared with Mr. Musk, members

of DOGE, or other third parties, or to have their personal and financial data used for

any purpose other than the purposes previously disclosed by the Treasury in its

System of Records Notices.



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        9.    Such access also exposes the Alliance’s members to an increased risk of

identity theft, fraudulent financial activities, further unconsented disclosures to

additional third parties, and other misuse of their sensitive personal and financial

data.

        10.   The injuries suffered by the Alliance’s members are ongoing and will

persist unless and until Mr. Musk, members of DOGE, or other third parties no longer

have access to their sensitive personal and financial data.

        I declare under penalty of perjury that the foregoing is true and correct.

        Executed on February 4, 2025.




                                                Richard J. Fiesta




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